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                             United States District Court
                                       for the
                             Southern District of Florida

  DeCurtis LLC, Plaintiff,               )
                                         )
  v.                                     ) Civil Action No. 20-22945-Civ-Scola
                                         )
  Carnival Corporation, Defendant.       )

          Order Requiring Discovery and Scheduling Conference and
          Order Referring Discovery Matters to the Magistrate Judge
         This matter is before the Court upon an independent review of the
  record. This case was recently transferred to this Court from the Middle
  District of Florida. Any previously entered scheduling orders are vacated. In
  addition to the requirements set forth below, the Court orders the parties to
  meet and confer and to file a joint status report, on or before July 30, 2020,
  regarding the current posture of this case and any pending issues ripe for the
  Court’s review. It is further ordered and adjudged as follows:
     1. Within 21 days of the filing of a response to the complaint by a
  Defendant in this matter, or within 21 days of the date of this order if a
  response has already been filed, the parties must meet and confer regarding
  discovery and scheduling issues, as set out in Federal Rule of Civil Procedure
  26(f) and Local Rule 16.1(b).
     2. Within 14 days of the parties’ discovery-and-scheduling conference, the
  parties must file a joint discovery-plan-and-conference report, as set forth in
  Federal Rule of Civil Procedure 26(f)(3) and Local Rule 16.1(b)(2). The parties
  should note that Federal Rule of Civil Procedure 26(f)(3)(B) and Local Rule
  16.1(b)(C) requires the joint discovery-plan-and-conference report to state the
  parties’ proposed time limit to complete discovery.
     3. The parties do not need to submit a joint proposed scheduling order
  pursuant to Local Rule 16.1(b)(3). Recognizing the complexity of most patent
  cases, it is this Court’s practice to set patent cases on a protracted schedule.
  This protracted case track requires the parties to exchange proposed terms for
  construction approximately three months from the date of the Court’s
  Scheduling Order, and to complete fact discovery approximately one year from
  the entry of the Scheduling Order. The Court’s patent case track is set forth in
  Attachment “A” to this Order. If the parties believe that this case is more
  straightforward than the typical patent case, and would benefit from a more
  expedited case track, the parties must set out the reasons justifying an
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  expedited schedule along with a proposed schedule of trial and pretrial
  deadlines.
      4. Magistrate Judge Referral. By virtue of 28 U.S.C. § 636 and the
  Magistrate Rules of the Local Rules of the Southern District of Florida, the
  Court refers all discovery motions in this case to United States Magistrate
  Judge Edwin G. Torres to take all necessary and proper action as required by
  law.
      5. Settlement Conference Before Magistrate Judge. The parties may, at any
  time, file a motion requesting a settlement conference before Judge Torres. The
  Court encourages the parties to consider a confidential settlement conference
  with Judge Torres, especially if the parties believe there is a meaningful chance
  of reaching an early, amicable resolution of their dispute.
      6. Discovery Motion Procedures. Judge Torres will enter a separate order
  regarding his discovery procedures.
         Done and ordered, at Miami, Florida, on July 23, 2020.

                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
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                    Attachment “A” to the Order Requiring
                     Discovery and Scheduling Conference

    weeks after
    entry of the
    scheduling
       order
                   Deadline for a party claiming patent infringement to serve
      2 weeks      Disclosure of Asserted Claims and Infringement Contentions
                   and make accompanying document production.

      4 weeks      Deadline to join additional parties or to amend pleadings.

                   Deadline for a party opposing a claim of patent infringement
                   or asserting invalidity or unenforceability to serve Non-
      7 weeks
                   Infringement, Unenforceability, and Invalidity Contentions
                   and make accompanying document production.

                   Deadline to Exchange Proposed Terms for Construction.

      11 weeks     Deadline to submit joint notice indicating whether the parties
                   consent to jurisdiction before the designated magistrate judge
                   for purposes of final disposition.

                   Deadline to Exchange of Preliminary Claim Constructions
      16 weeks
                   and Extrinsic Evidence.

      21 weeks     Deadline to file joint interim status report.

                   Deadline to File Joint Claim Construction and Prehearing
      23 weeks
                   Statement.

                   Deadline to Complete Claim Construction Discovery.
                   Deadline to file a motion to stay the lawsuit pending
                   reexamination in the U.S. Patent Office.
      26 weeks     Deadline to file Proposed Order Scheduling Mediation, setting
                   forth the name of the mediator, and the date, time, and
                   location of the mediation, consistent with the Order of
                   Referral to Mediation.

                   Deadline to file opening Claim Construction brief and
      28 weeks     deadline to file opening brief asserting claims for invalidity
                   and unenforceability.

      38 weeks     Deadline to provide information regarding advice of counsel.
                   (If the Court has not yet ruled on claim construction the
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                    parties should file a motion to extend this date.)

                    Deadline to complete fact discovery.
                    Deadline to disclose the identity of expert witnesses, and to
      43 weeks      exchange expert witness summaries/reports pursuant to
                    Federal Rule of Civil Procedure 26(a)(2). Rebuttal disclosures
                    are permitted, and must conform to the deadline set forth in
                    Federal Rule of Civil Procedure 26(a)(2)(C)(ii).

      44 weeks      Deadline to complete mediation.

      49 weeks      Deadline to complete all expert discovery.

                    Deadline for the filing of all dispositive motions and Daubert
      51 weeks
                    motions.
      8 weeks
                    Deadline for the filing of pretrial motions, including motions
      BEFORE
                    in limine.
    calendar call
      4 weeks       Deadline to file joint pretrial stipulation pursuant to Local
    BEFORE the      Rule 16.1(e) and pretrial disclosures pursuant to Federal
     trial date     Rule of Civil Procedure 26(a)(3).

                    Deadline to file proposed jury instructions (if the matter is set
      2 weeks
                    for a jury trial) or proposed findings of fact and conclusions of
    BEFORE the
                    law (if the matter is set for a bench trial) pursuant to Local
     trial date
                    Rule 16.1(k).

     68 weeks       Two-week trial period commences (calendar call will be
   (approximate)    scheduled on the Tuesday before the trial period).
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                             United States District Court
                                       for the
                             Southern District of Florida

  DeCurtis LLC, Plaintiff,               )
                                         )
  v.                                     ) Civil Action No. 20-22945-Civ-Scola
                                         )
  Carnival Corporation, Defendant.       )

                                   Patent Rules
        The Patent Rules contained in this Order will govern the proceedings in
  this case. 1 The timing and sequence will be governed by the Court’s Scheduling
  Order. The parties must carefully review and comply with all of these rules.
  Failure to comply may result in the imposition of sanctions on the offending
  party, counsel, or both.

     1. Scope of Rules
  1-1. Title
        These are the Patent Rules that govern patent proceedings before the
        undersigned judge. They should be cited as “P.R. ___.”
  1-2. Scope and Construction
        These rules apply to all civil actions pending before Judge Robert N.
        Scola, Jr. in which a party makes a claim of infringement, non-
        infringement, invalidity, or unenforceability of a utility patent. The Local
        Rules of the Southern District of Florida also apply to this action, except
        to the extent that they are inconsistent with these Patent Rules.
  1-3. Modification of these Rules
        The Court may modify the obligations or deadlines set forth in these
        Patent Rules based on the circumstances of any particular case,
        including, without limitation, the simplicity or complexity of the cases as
        shown by the patents, claims, products, or parties involved. Before
        submitting any request for a modification, the parties must meet and
        confer for the purposes of reaching an agreement, if possible, upon any
        modification.

  2.   General Provisions
  2-1. Governing Procedure Initial Case Management Conference. When the
       parties confer pursuant to Federal Rule of Civil Procedure 26(f), in

  1
   These Patent Rules are taken largely from the Local Patent Rules in the
  Northern District of California and the Northern District of Illinois.
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       addition to the matters covered by Rule 26, the parties must discuss and
       address in the Case Management Statement filed pursuant to Rule 26(f)
       and Local Rule 16.1(b) the following topics:
             (a)    Proposed modification of the obligations or deadlines set
                    forth in these Patent Rules to ensure that they are suitable
                    for the circumstances of the particular case (see P.R. 1-3);
             (b)    The scope and timing of any claim construction discovery
                    including disclosure of and discovery from any expert
                    witness permitted by the court;
             (c)    The format of the Claim Construction Hearing, including
                    whether the Court will hear live testimony, the order of
                    presentation, and the estimated length of the hearing; and
             (d)    How the parties intend to educate the court on the
                    technology at issue.
  2-2. Confidentiality
       The Court will enter a protective order the same day it enters these
       Patent Rules. Any party may move the Court to modify the protective
       order for good cause. The filing of such a motion does not affect the
       requirement for or timing of any of the disclosures required by any
       Scheduling Order, or these Patent Rules. Discovery cannot be withheld
       on the basis of confidentiality, in the absence of a Court order.
  2-3. Certification of Disclosures
       All statements, disclosures, or charts filed or served in accordance with
       these Patent Rules must be dated and signed by counsel of record.
       Counsel’s signature shall constitute a certification that to the best of his
       or her knowledge, information, and belief, formed after an inquiry that is
       reasonable under the circumstances, the information contained in the
       statement, disclosure, or chart is complete and correct at the time it is
       made.
  2-4. Admissibility of Disclosures
       The disclosures provided for in these Patent Rules are inadmissible as
       evidence on the merits. A party may use or make reference to these
       disclosures for any other appropriate purpose.
  2-5. Relationship to Federal Rules of Civil Procedure
       A party may not object to mandatory disclosures under Rule 26(a) or to a
       discovery request on the grounds that it conflicts with or is premature
       under these Patent Rules, except to the following categories of requests
       and disclosures:
       (a)    Requests seeking to elicit a party’s claim construction position;
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        (b)   Requests seeking to elicit from the patent claimant a comparison of
              the asserted claims and the accused apparatus, product, device,
              process, method, act, or other instrumentality;
        (c)   Requests seeking to elicit from an accused infringer a comparison
              of the asserted claims and the prior art;
        (d)   Requests to an accused infringer for its non-infringement
              contentions; and
        (e)   Requests seeking to elicit from an accused infringer the
              identification of any advice of counsel, and related documents.

  3.   Patent Disclosures
  3-1. Disclosure of Asserted Claims and Infringement Contentions
       A party claiming patent infringement must serve on all parties
       “Disclosure of Asserted Claims and Infringement Contentions” containing
       the following information:
       (a)    Identification of each claim of each patent in suit that is allegedly
              infringed by each opposing party, including for each claim the
              applicable statutory subsections of 35 U.S.C. § 271 asserted;
       (b)    Separately for each asserted claim, each accused apparatus,
              product, device, process, method, act, or other instrumentality
              (“Accused Instrumentality”) of each opposing party of which the
              party is aware. This identification must be as specific as possible.
              Each product, device, and apparatus must be identified by name
              or model number, if known. Each method or process must be
              identified by name, if known, or by any product, device, or
              apparatus which, when used, allegedly results in the practice of
              the claimed method or process;
       (c)    A chart identifying specifically where each limitation of each
              asserted claim is found within each Accused Instrumentality,
              including for each element that such party contends is governed by
              35 U.S.C. § 112(6), the identity of the structure(s), act(s), or
              material(s) in the Accused Instrumentality that performs the
              claimed function;
       (d)    For each claim that is alleged to have been indirectly infringed, an
              identification of any direct infringement and a description of the
              acts of the alleged indirect infringer that contribute to or are
              inducing that direct infringement. If alleged direct infringement is
              based on joint acts of multiple parties, the role of each such party
              in the direct infringement must be described.
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        (e)Whether each limitation of each asserted claim is alleged to be
           literally present or present under the doctrine of equivalents in the
           Accused Instrumentality. For any claim under the doctrine of
           equivalents, the Initial Infringement Contentions must include an
           explanation of each function, way, and result that is equivalent
           any why any differences are not substantial;
       (f) For any patent that claims priority to an earlier application, the
           priority date to which each asserted claim allegedly is entitled;
       (g) If a party claiming patent infringement wishes to preserve the right
           to rely, for any purpose, on the assertion that its own apparatus,
           product, device, process, method, act, or other instrumentality
           practices the claimed invention, the party must identify, separately
           for each asserted claim, each such apparatus, product, device,
           process, method, act, or other instrumentality that incorporates or
           reflects that particular claim; and
       (h) If a party claiming patent infringement alleges willful infringement,
           the basis for such allegation.
  3-2. Document Production Accompanying Disclosure
        With the “Disclosure of Asserted Claims and Infringement Contentions,”
        the party claiming patent infringement must produce to each opposing
        party or make available for inspection and copying the following:
        (a)   Documents       (e.g.,   contracts,   purchase      orders,  invoices,
              advertisements, marketing materials, offer letters, beta site testing
              agreements, and third party or joint development agreements)
              sufficient to evidence each discussion with, disclosure to, or other
              manner of providing to a third party, or sale of or offer to sell, or
              any public use of, the claimed invention prior to the date of
              application for the patent in suit. A party’s production of a
              document as required under this Rule does not constitute an
              admission that such document evidences or is prior art under 35
              U.S.C. § 102;
        (b)   All documents evidencing the conception, reduction to practice,
              design, and development of each claimed invention, which were
              created on or before the date of application for the patent in suit or
              the priority date identified pursuant to Patent Rule 3-1(f),
              whichever is earlier;
        (c)   A copy of the file history for each patent in suit; and
        (d)   All documents evidencing ownership of the patent rights by the
              party asserting patent infringement.
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        (e)   If a party identifies instrumentalities pursuant to Patent Rule 3-
              1(g), documents sufficient to show the operation of any aspects or
              elements of such instrumentalities the patent claimant relies upon
              as embodying any asserted claims.
       The producing party must separately identify by production number
       which documents correspond to each category.
  3-3. Non-Infringement, Unenforceability, and Invalidity Contentions
       Each party opposing a claim of patent infringement or asserting
       invalidity or unenforceability must serve upon all parties its “Non-
       Infringement, Unenforceability, and Invalidity Contentions” containing
       the following information:
       (a)    The identity of each item of prior art that allegedly anticipates each
              asserted claim or renders it obvious. Each prior art patent must be
              identified by its number, country of origin, and date of issue. Each
              prior art publication must be identified by its title, date of
              publication, and where feasible, author and publisher. Prior art
              under 35 U.S.C. § 102(b) must be identified by specifying the item
              offered for sale or publicly used or known, the date the offer or use
              took place or the information became known, and the identity of
              the person or entity which made the use or which made and
              received the offer, or the person or entity which made the
              information known or to whom it was made known. Prior art under
              35 U.S.C. § 102(f) must be identified by providing the name of the
              person(s) from whom and the circumstances under which the
              invention or any part of it was derived. Prior art under 35 U.S.C. §
              102(g) must be identified by providing the identities of the
              person(s) or entities involved in and the circumstances
              surrounding the making of the invention before the patent
              applicant(s);
       (b)    A statement of whether each item of prior art anticipates each
              asserted claim or renders it obvious. If a combination of items of
              prior art allegedly makes a claim obvious, include an identification
              of each combination of prior art showing obviousness;
       (c)    A chart identifying where specifically in each alleged item of prior
              art each limitation of each asserted claim is found, including for
              each limitation that such party contends is governed by 35 U.S.C.
              § 112(6), the identity of the structure(s), act(s), or material(s) in
              each item of prior art that performs the claimed function;
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         (d)   Any grounds of invalidity based on 35 U.S.C. § 101, indefiniteness
               under 35 U.S.C. § 112(2) or enablement or written description
               under 35 U.S.C. § 112(1) of any of the asserted claims; and
        (e)    Unenforceability contentions must identify the acts allegedly
               supporting and all bases for the assertion of unenforceability.
   3-4. Document Production Accompanying Invalidity Contentions
        With     the    “Non-Infringement,      Unenforceability,  and     Invalidity
        Contentions,” the party opposing a claim of patent infringement must
        produce or make available for inspection and copying:
        (a)    Source code, specifications, schematics, flow charts, artwork,
               formulas, or other documentation sufficient to show the operation
               of any aspects or elements of an Accused Instrumentality identified
               by the patent claimant in its Patent Rule 3-1(c) chart; and
        (b)    A copy or sample of the prior art identified pursuant to Patent Rule
               3-3(a) that does not appear in the file history of the patent(s) at
               issue. To the extent any such item is not in English, an English
               translation of the portion(s) relied upon must be produced.
        The producing party must separately identify by production number
        which documents correspond to each category.
   3-5. Disclosure Requirement in Patent Cases Initiated by Complaint for
        Declaratory Judgment
        In a case initiated by a compliant for declaratory judgment in which a
        party files a pleading seeking a judgment that a patent is not infringed, is
        invalid, or is unenforceable, Patent Rule 3-1 and 3-2 will not apply
        unless a party makes a claim for patent infringement. If no claim for
        patent infringement is made, the party seeking a declaratory judgment
        must comply with Patent Rule 3-3 and 3-4 within 28 days after the
        parties’ discovery and scheduling conference.
   3-6. Amendment to Contentions
        Amendment of the Infringement Contentions or the Invalidity
        Contentions may be made only with leave of the Court upon a timely
        showing of good cause. Non-exhaustive examples of circumstances that
        may, in the absence of undue prejudice to the non-moving party, support
        a finding of good cause include the following:
        (a)    A claim construction by the Court different from that proposed by
               the party seeking amendment;
        (b)    Recent discovery of material, prior art despite earlier diligent
               search; and
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         (c)   Recent discovery of nonpublic information about the Accused
               Instrumentality that was not discovered, despite diligent efforts,
               before the service of the Infringement Contentions.
        The duty to supplement discovery responses does not excuse the need to
        obtain leave of court to amend contentions.
   3-7. Advice of Counsel
        Each party relying upon advice of counsel as part of a patent-related
        claim or defense for any reason must complete the following tasks:
        (a)    Produce or make available for inspection and copying any written
               advice and documents related to that advice for which the
               attorney-client and work product protection have been waived;
        (b)    Provide a written summary of any oral advice and produce or make
               available for inspection and copying that summary and documents
               related that advice for which the attorney-client and work product
               protection have been waived; and
        (c)    Serve a privilege log identifying any other documents, except those
               authored by counsel acting solely as trial counsel, relating to the
               subject matter of the advice that the party is withholding on the
               grounds of attorney-client privilege or work product protection.
        A party who does not comply with the requirements of Patent Rule 3-7
        will not be permitted to rely on advice of counsel for any purpose absent
        a stipulation of all parties or by order of the Court.

   4.   Claim Construction Proceedings
   4-1. Exchange of Proposed Terms for Construction
        (a)  Each party must serve on each other party a list of claim terms
             that the party contends should be construed by the Court, and
             identify any claim term that the party contends should be governed
             by 35 U.S.C. § 112(6).
        (b)  The parties must then meet and confer for the purposes of limiting
             the terms in dispute by narrowing or resolving differences and
             facilitating the ultimate preparation of a Joint Claim Construction
             and Prehearing Statement. The parties must also jointly identify
             the 10 terms likely to be most significant to resolving the parties’
             dispute, including those terms for which construction may be case
             or claim dispositive.
   4-2. Exchange of Preliminary Claim Constructions and Extrinsic
        Evidence
        (a)  The parties must simultaneously exchange proposed constructions
             of each term identified by either party for claim construction. Each
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              such “Preliminary Claim Construction” must also, for each term
              which any party contends is governed by 35 U.S.C. § 112(6),
              identify the structure(s), act(s), or material(s) corresponding to that
              term’s function.
        (b)   At the same time the parties exchange their respective “Preliminary
              Claim Constructions,” each party must also identify all references
              from the specification or prosecution history that support its
              proposed construction and designate any supporting extrinsic
              evidence including, without limitation, dictionary definitions,
              citations to learned treatises and prior art, and testimony of
              percipient and expert witnesses. Extrinsic evidence must be
              identified by production number or by producing a copy if not
              previously produced. With respect to any supporting witness,
              percipient or expert, the identifying party must also provide a
              description of the substance of that witness’ proposed testimony
              that includes a listing of any opinions to be rendered in connection
              with claim construction.
        (c)   The parties must then meet and confer for the purposes of
              narrowing the issues and finalizing preparation of a Joint Claim
              Construction and Prehearing Statement.
   4-3. Joint Claim Construction and Prehearing Statement
         The parties must complete and file a Joint Claim Construction and
         Prehearing Statement, containing the following information:
         (a)  The construction of those terms on which the parties agree;
         (b)  Each party’s proposed construction of each disputed term, together
              with an identification of all references from the specification or
              prosecution history that support that construction, and an
              identification of any extrinsic evidence known to the party on
              which it intends to rely either to support its proposed construction
              or to oppose any other party’s proposed construction, including,
              but not limited to, as permitted by law, dictionary definitions,
              citations to learned treatises and prior art, and testimony of
              percipient and expert witnesses;
         (c)  An identification of the terms whose construction will be most
              significant to the resolution of the case up to a maximum of 10.
              The parties must also identify any term among the 10 whose
              construction will be case or claim dispositive. If the parties cannot
              agree on the 10 most significant terms, the parties must identify
              the ones which they do agree are most significant and then they
              may evenly divide the remainder with each party identifying what it
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               believes are the remaining most significant terms. However, the
               total terms identified by all parties as most significant cannot
               exceed 10. For example, in a case involving two parties, if the
               parties agree upon the identification of five terms as most
               significant, each may only identify two additional terms as most
               significant; if the parties agree upon eight such terms, each party
               may only identify only one additional term as most significant.
        (d)    The anticipated length of time necessary for the Claim
               Construction Hearing;
        (e)    Whether any party proposes to call one or more witnesses at the
               Claim Construction Hearing, the identity of each such witness, and
               for each witness, a summary of his or her testimony including, for
               any expert, each opinion to be offered related to claim
               construction; and
        (f)    Unless otherwise ordered by the Court, the parties must provide
               the Court with a tutorial on the technology at issue no later than
               the date on which the opening claim construction briefs are due.
               The tutorial should focus on the technology at issue. It is not
               appropriate to present argument during the technology tutorial.
               The parties may propose the format for the tutorial, including
               submitting DVDs of not more than 30 minutes explaining the
               technology, or at an in-court proceeding.
   4-4. Completion of Claim Construction Discovery
        The parties must complete all discovery relating to claim construction,
        including any depositions with respect to claim construction of any
        witnesses, including experts, identified in the Preliminary Claim
        Construction statement (Patent Rule 4-2) or Joint Claim Construction
        and Prehearing Statement (Patent Rule 4-3).
   4-5. Claim Construction Briefs
        Any party claiming patent infringement must serve and file an opening
        claim construction brief and any evidence supporting its claim
        construction. Any party asserting invalidity or unenforceability must
        serve and file a brief and any evidence supporting its claim of invalidly or
        unenforceability. Any motion for summary judgment on invalidity or
        unenforceability must be made at this time.
   4-7. Claim Construction Hearing
        Subject to the convenience of the Court’s calendar, approximately three
        weeks following submission of the reply brief specified in Patent Rule 4-
        5(c), the Court will conduct a Claim Construction Hearing, to the extent
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        the parties or the Court believe a hearing is necessary for construction of
        the claims at issue.
   4-8. Good-faith Participation
        A failure to make a good-faith effort to narrow the instances of disputed
        terms or otherwise participate in the meet and confer process of any of
        the provisions of Section 4 may expose counsel to sanctions, including
        under 28 U.S.C. § 1927.
        Done and ordered in chambers, at Miami, Florida, on July 23, 2020.


                                              __________________________________________________________________________________________________________________________________________________________________




                                              Robert N. Scola, Jr.
                                              United States District Judge
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                              United States District Court
                                        for the
                              Southern District of Florida

   DeCurtis LLC, Plaintiff,               )
                                          )
   v.                                     ) Civil Action No. 20-22945-Civ-Scola
                                          )
   Carnival Corporation, Defendant.       )

                                    Protective Order
          The Court recognizes that the parties to this case may request or
   produce information involving trade secrets, confidential research and
   development, or confidential commercial information. If this information is
   disclosed it is likely to cause harm to the party producing the information.
   Accordingly, the Court enters the following protective order under Federal Rule
   of Civil Procedure 26(c)(1) and orders as follows:
      1. Definitions:
             a. “Party” means a named party in this case. “Person” means an
                individual or an entity.
             b. “Producer” means a person who produces information via the
                discovery process in this case.
             c. “Recipient” means a person who receives information via the
                discovery process in this case.
             d. “Confidential” information is information concerning a person’s
                business operations, processes, and technical and development
                information within the scope of Rule 26(c)(1)(G), the disclosure of
                which is likely to harm that person’s competitive position, or the
                disclosure of which would contravene an obligation of
                confidentiality to a third person or to a Court.
             e. “Highly Confidential” information is information within the scope of
                Rule 26(c)(1)(G) that is current or future business or technical
                trade secrets and plans more sensitive or strategic than
                Confidential information, the disclosure of which is likely to
                significantly harm that person’s competitive position, or the
                disclosure of which would contravene an obligation of
                confidentiality to a third person or to a Court.
             f. Information is not Confidential or Highly Confidential if it is
                disclosed in a printed publication, is known to the public, was
                known to the recipient without obligation of confidentiality before
                the producer disclosed it, or is or becomes known to the recipient
                by means not constituting a breach of this Order. Information is
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              likewise not Confidential or Highly Confidential if a person lawfully
              obtained it independently of this litigation.
      2. Designation of information as Confidential or Highly Confidential:
           a. A person’s designation of information as Confidential or Highly
              Confidential means that the person believes in good faith, upon
              reasonable inquiry, that the information qualifies as such.
           b. A person designates information in a document or thing as
              Confidential or Highly Confidential by clearly and prominently
              marking it on its face as “CONFIDENTIAL” or “HIGHLY
              CONFIDENTIAL.” A producer may make documents or things
              containing Confidential or Highly Confidential information
              available for inspection and copying without marking them as
              confidential without forfeiting a claim of confidentiality, so long as
              the producer causes copies of the documents or things to be
              marked as Confidential or Highly Confidential before providing
              them to the recipient.
           c. A person designates information in deposition testimony as
              Confidential or Highly Confidential by stating on the record at the
              deposition that the information is Confidential or Highly
              Confidential or by advising the opposing party and the
              stenographer and videographer in writing, within 14 days after
              receipt of the deposition transcript, that the information is
              Confidential or Highly Confidential.
           d. A person’s failure to designate a document, thing, or testimony as
              Confidential or Highly Confidential does not constitute forfeiture of
              a claim of confidentiality as to any other document, thing, or
              testimony.
           e. A person who has designated information as Confidential or Highly
              Confidential may withdraw the designation by written notification
              to all parties in the case.
           f. If a party disputes a producer’s designation of information as
              Confidential or Highly Confidential, the party must notify the
              producer in writing of the basis for the dispute, identifying the
              specific document[s] or thing[s] as to which the designation is
              disputed and proposing a new designation for such materials. The
              party and the producer must then meet and confer to attempt to
              resolve the dispute without involvement of the Court. If they
              cannot resolve the dispute, the proposed new designation will be
              applied 14 days after notice of the dispute unless within that 14-
              day period the producer files a motion with the Court to maintain
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              the producer’s designation. The producer bears the burden of
              proving that the information is properly designated as Confidential
              or Highly Confidential. The information will remain subject to the
              producer’s Confidential or Highly Confidential designation until the
              Court rules on the dispute. A party’s failure to contest a
              designation of information as Confidential or Highly Confidential is
              not an admission that the information was properly designated as
              such.
      3. Use and disclosure of Confidential or Highly Confidential information:
           a. Confidential and Highly Confidential information may be used
              exclusively for purposes of this litigation, subject to the restrictions
              of this order.
           b. Absent written permission from the producer or further order by
              the Court, the recipient may not disclose Confidential information
              to any person other than the following: (i) a party’s outside counsel
              of record, including necessary paralegal, secretarial and clerical
              personnel assisting such counsel; (ii) a party’s in‐house counsel;
              (iii) a party’s officers and employees directly involved in this case
              whose access to the information is reasonably required to
              supervise, manage, or participate in this case; (iv) a stenographer
              and videographer recording testimony concerning the information;
              (v) subject to the provisions of paragraph 4(d) of this order, experts
              and consultants and their staff whom a party employs for purposes
              of this litigation only; and (vi) the Court and personnel assisting
              the Court.
           c. Absent written permission from the producer or further order by
              the Court, the recipient may not disclose Highly Confidential
              information to any person other than those identified in paragraph
              3(b)( i), (iv), (v), and (vi).
           d. A party may not disclose Confidential or Highly Confidential
              information to an expert or consultant pursuant to paragraph 3(b)
              or 3(c) of this order until after the expert or consultant has signed
              an undertaking in the form of Appendix 1 to this Order. The party
              obtaining the undertaking must serve it on all other parties within
              14 days after its execution. At least 14 days before the first
              disclosure of Confidential or Highly Confidential information to an
              expert or consultant (or member of their staff), the party proposing
              to make the disclosure must serve the producer with a written
              identification of the expert or consultant and a copy of his or her
              curriculum vitae. If the producer has good cause to object to the
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                  disclosure (which does not include challenging the qualifications of
                  the expert or consultant), it must serve the party proposing to
                  make the disclosure with a written objection within 14 days after
                  service of the identification. Unless the parties resolve the dispute
                  within 14 days after service of the objection, the producer must
                  move the Court promptly for a ruling, and the Confidential or
                  Highly Confidential information may not be disclosed to the expert
                  or consultant without the Court’s approval.
               e. Notwithstanding paragraph 3(a) and (b), a party may disclose
                  Confidential or Highly Confidential information to: (i) any employee
                  or author of the producer; (ii) any person, no longer affiliated with
                  the producer, who authored the information in whole or in part;
                  and (iii) any person who received the information before this case
                  was filed.
               f. A party who wishes to disclose Confidential or Highly Confidential
                  information to a person not authorized under paragraph 3(b) or
                  3(c) must first make a reasonable attempt to obtain the producer’s
                  permission. If the party is unable to obtain permission, it may seek
                  the Court’s permission.
      4.   Copies: A party producing documents as part of discovery must, upon
           request, furnish the requesting party with one copy of the documents it
           requests, at the requesting party’s expense. Before copying, the parties
           must agree upon the rate at which the requesting party will be charged
           for copying.
      5.   Inadvertent Disclosure: Inadvertent disclosures of material protected by
           the attorney‐client privilege or the work product doctrine will be handled
           in accordance with Federal Rule of Evidence 502.
      6.   Filing with the Court: This protective order does not, by itself, authorize
           the filing of any document under seal. No document may be filed under
           seal without prior leave of court. A party wishing to file under seal a
           document containing Confidential or Highly Confidential information
           must move the Court, consistent with Local Rule 5.4 and before the due
           date for the document, for permission to file the document under seal. If
           a party obtains permission to file a document under seal, it must also
           (unless excused by the Court) file a public‐record version that excludes
           any Confidential or Highly Confidential information.
      7.   Document Disposal: Upon the conclusion of this case, each party must
           return to the producer all documents and copies of documents
           containing the producer’s Confidential and Highly Confidential
           information, and must destroy all notes, memoranda, or other materials
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         derived from or in any way revealing confidential or highly confidential
         information. Alternatively, if the producer agrees, the party may destroy
         all documents and copies of documents containing the producer’s
         Confidential or Highly Confidential information. The party returning or
         destroying the producer’s Confidential and Highly Confidential
         information must promptly certify in writing its compliance with the
         requirements of this paragraph. Notwithstanding the requirements of
         this paragraph, a party and its counsel may retain one complete set of all
         documents filed with the Court, remaining subject to all requirements of
         this order.
      8. Survival of obligations: This order’s obligations regarding Confidential
         and Highly Confidential information survive the conclusion of this case.
         Done and ordered in chambers, at Miami, Florida, on July 23, 2020.


                                              ___________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                              Robert N. Scola, Jr.
                                              United States District Judge
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                                       Appendix 1

                               United States District Court
                                         for the
                               Southern District of Florida

   DeCurtis LLC, Plaintiff,                )
                                           )
   v.                                      ) Civil Action No. 20-22945-Civ-Scola
                                           )
   Carnival Corporation, Defendant.        )

                              Undertaking of [insert name]
           I, [insert person’s name], state the following under penalties of perjury as
   provided by law:
           I have been retained by [insert party’s name] as an expert or consultant
   in connection with this case. I will be receiving Confidential [and Highly
   Confidential] information that is covered by the Court’s protective order dated
   [fill in date]. I have read the Court’s protective order and understand that the
   Confidential [and Highly Confidential] information is provided pursuant to the
   terms and conditions in that order.
           I agree to be bound by the Court’s protective order. I agree to use the
   Confidential [and Highly Confidential] information solely for purposes of this
   case. I understand that neither the Confidential [and Highly Confidential]
   information nor any notes concerning that information may be disclosed to
   anyone that is not bound by the Court’s protective order. I agree to return the
   Confidential [and Highly Confidential] information and any notes concerning
   that information to the attorney for [insert name of retaining party] or to
   destroy the information and any notes at that attorney’s request.
           I submit to the jurisdiction of the Court that issued the protective order
   for purposes of enforcing that order. I give up any objections I might have to
   the Court’s jurisdiction over me or to the propriety of venue in that Court.

                                                      _____________________________
                                                      Signature
   Subscribed and sworn to
   before me this _____ day
   of ____________, 20_____

   _______________________
   Notary Public
